Case 1:20-cv-23223-BB Document 12 Entered on FLSD Docket 08/21/2020 Page 1 of 4



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               FORT LAUDERDALE DIVISION

                                 CASE NO: 20-23223-CIV-BLOOM

 DRAGAN JANICIJEVIC, on his own
 behalf and on behalf of all other similarly
 situated crew members working aboard
 BAHAMAS PARADISE CRUISE LINE
 vessels

        Plaintiffs,

                v.

 CLASSICA CRUISE OPERATOR, LTD.,
 PARADISE CRUISE LINE OPERATOR
 LTD. INC., a/k/a PARADISE CRUISE LINE
 OPERATOR LTD. d/b/a BAHAMAS
 PARADISE CRUISE LINE, BPCL
 MANAGEMENT, LLC, d/b/a BAHAMAS
 PARADISE CRUISE LINE, LLC.,

        Defendants.
                                                    /

           JOINT MOTION FOR BRIEF STAY PENDING APPROVAL OF
     SETTLEMENT AGREEMENT AND NOTICE OF CLASS-WIDE SETTLEMENT

        The Parties announce that through an aggressive and active early mediation in this matter,

 under the direct supervision of nationally recognized mediator Rodney Max, they have executed a

 Term Sheet which provides for a full Settlement of this class action matter. To save the Court and

 the Parties time and resources, the Parties jointly request a very brief stay of 10 days (in accordance

 with the proposed timetable below), so the Parties can devote their time and resources to drafting

 and finalizing the Class Action Settlement Agreement and preparing the Motion for Preliminary

 Approval of the Class Action Settlement Agreement.             The Parties will expeditiously seek

 preliminary approval of the Class Action Settlement Agreement pursuant to Rule 23(e) of the
Case 1:20-cv-23223-BB Document 12 Entered on FLSD Docket 08/21/2020 Page 2 of 4



 Federal Rules of Civil Procedure. In support of the requested stay and proposed time schedule,

 the Parties state the following:

         1.      On August 21, 2020, after considerable mediation, Plaintiff and Defendants

 reached an arms-length agreement in principle to resolve all claims against all Defendants in these

 proceedings.

         2.      The Parties are now in the process during the next 10 days of drafting a detailed

 Class Action Settlement Agreement that settles all issues in this action, eligibility of putative

 settlement class members for a class settlement payment, and dismissal of all claims against

 Defendants with prejudice. The Plaintiff is also drafting a Motion for Preliminary Approval of the

 proposed settlement.

         3.      After execution of the Settlement Agreement, the Plaintiff will present it to the

 Court and seek preliminary approval of the class action settlement, including the plan of notice to

 the settlement class, pursuant to Rule 23 of the Federal Rules of Civil Procedure.

        4.       It is well settled that this Court has the authority to stay proceedings to manage its

 docket, based upon the circumstances of a particular case, especially where the parties have

 reached a settlement of the matter. See, e.g., Landis v. North Am. Water Works & Elec. Co., 299

 U.S. 248, 254 (1936); Republic of Venezuela v. Philip Morris Cos., Inc., No. 99-0586-Civ, 1999

 WL 33911677, at *1 (S.D. Fla. Apr. 28, 1999). A class-wide settlement, if approved, will resolve

 all claims and issues in this action.

         5.      A very brief stay of 10 days will also conserve the Parties’ and the Court’s

 resources, and will allow the Parties to focus on settlement details and drafting preliminary

 approval briefs, rather than spending their efforts on motions to dismiss, class certification,




                                                 -2–
Case 1:20-cv-23223-BB Document 12 Entered on FLSD Docket 08/21/2020 Page 3 of 4



 discovery disputes, and any further dispositive motions or motion in limine that, if settlement is

 approved, will turn out to be unnecessary.

        6.      The Parties respectfully request that the Court briefly stay the case according to the

 proposed schedule below:

        a.      Class Action Settlement Agreement shall be executed within 7 days by August 28,

                2020;

        b.      Motion for Preliminary Approval of the Class Action Settlement Agreement shall

                be filed by August 31, 2020; and

        c.      If the Motion for Preliminary Approval is granted, the Court shall set a date and

                time for the Final Approval Hearing at the Court’s discretion.

        WHEREFORE, the Parties respectfully request the Court enter the attached Order staying

 all claims pending the execution and approval of a class-wide Settlement Agreement and that sets

 specific timelines for the Parties to seek preliminary approval of the Settlement.

 Date: August 21, 2020                                 Respectfully submitted,

  By: /s/ Adam Moskowitz                               By: /s/ Catherine J. MacIvor
  Adam Moskowitz, Esq.                                 Jeffrey E. Foreman
  Florida Bar No. 984280                               Florida Bar No. 240310
  Email: adam@moskowitz-law.com                        jforeman@fflegal.com
  Howard M. Bushman, Esq.                              Catherine J. MacIvor
  Florida Bar No. 0364230                              Florida Bar. No. 932711
  Email: howard@moskowitz-law.com                      cmacivor@fflegal.com
  The Moskowitz Law Firm, PLLC                         Foreman Friedman, PA
  2 Alhambra Plaza                                     One Biscayne Tower, Suite 2300
  Suite 601                                            2 South Biscayne Boulevard Miami, FL
  Coral Gables, FL 33134                               33131 Telephone: (305) 358-6555
  Telephone: 305 740-1423                              Counsel for Defendants
  Counsel for Plaintiff

  By:/s/ Michael Winkleman
  Michael A. Winkleman
  Florida Bar No. 36719
  mwinkleman@lipcon.com
  Daniel W. Grammes


                                                -3–
Case 1:20-cv-23223-BB Document 12 Entered on FLSD Docket 08/21/2020 Page 4 of 4



  Florida Bar No. 1010507
  dgrammes@lipcon.com
  Andrew S. Freedman
  Florida Bar No. 091087
  afreedman@lipcon.com
  Lipcon, Margulies, Alsina & Winkleman, P.A.
  One Biscayne Tower, Suite 1776
  2 South Biscayne Boulevard
  Miami, Florida 33131
  Telephone No.: (305) 373-3016
  Facsimile No.: (305) 373-6204
  Counsel for Plaintiffs
                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was filed on August 21, 2020

 with the Clerk by using the CM/ECF system, which will send notification of such filing to all

 attorneys of record.


                                                      s/ Adam M. Moskowitz




                                               -4–
